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                          UNITED STATES DISTRICT
                         COURT FOR THE DISTRICT OF
                                COLUMBIA


UNITED STATES OF AMERICA                         :
                                                 :
       v.                                        : CRIMINAL NO. 21-mj-451
                                                 :
LEON LIPSCOMBE,                                  :
     Defendant.                                  :


    CONSENT MOTION TO CONTINUE PRELIMINARY HEARING AND FOR
                       EXCLUDABLE DELAY

       The United States of America, by and through its attorney, the United States Attorney

for the District of Columbia, respectfully files this Consent Motion to Continue the Preliminary

Hearing in the above-captioned matter from September 9, 2021 to October 18, 2021. The

Government and the defendant agree that there is good cause to extend the complaint in this

case from September 9, 2021 to October 18, 2021, and to adjourn the preliminary hearing in

this case to October 18, 2021. Defendant concurs in this request and agrees that it is in his best

interest. In support thereof, the government states as follows:

   1. The government and counsel for the defendant have conferred, and are continuing to

       communicate in an effort to resolve this matter. The current restrictions on counsel,

       particularly those impacting defense counsel’s ability to communicate with his client,

       have slowed this process. The parties agree that the complaint will remain in full force

       and effect through the new date of October 18, 2021. The parties agree that this

       stipulation and any order resulting therefrom shall not affect any previous order of

       pretrial detention or pretrial release.

   2. The parties, therefore, would respectfully request that the preliminary hearing and the
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 date by which an information or an indictment must be filed be continued until October

 18, 2021. The parties agree that the failure to grant this continuance “would deny

 counsel for the defendant . . . the reasonable time necessary for effective preparation,

 taking into account the exercise of due diligence,” 18 U.S.C. § 3161(h)(7)(B)(iv).

 Therefore, “the ends of justice served by the granting of such continuance [will]

 outweigh the best interests of the public and the defendant in a speedy trial,” 18 U.S.C.

 § 3161(h)(7)(A), and the parties request an order to that end. The parties agree that

 pursuant to 18 U.S.C. § 3161, the time from September 9, 2021 through October 18,

 2021 shall be excluded in computing the date for speedy trial in this case.




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Wherefore, the parties respectfully request that the Court continue the Preliminary Hearing in

this matter until October 18, 2021.

                                      Respectfully submitted,

                                      CHANNING PHILLIPS
                                      ACTING UNITED STATES ATTORNEY

                             By:      /s/ April N. Russo
                                      April N. Russo
                                      Assistant United States Attorney
                                      PA Bar No. 313475
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                            UNITED STATES DISTRICT
                           COURT FOR THE DISTRICT OF
                                  COLUMBIA


 UNITED STATES OF AMERICA                        :
                                                 :
          v.                                     : CRIMINAL NO. 21-mj-451
                                                 :
 LEON LIPSCOMBE,                                 :
      Defendant.                                 :

                                               ORDER

        This matter having come before the Court pursuant to a Motion to Continue, upon consent,

it is therefore

        ORDERED that, after taking into account the public interest in the prompt disposition of

criminal cases, good cause exists to extend the Preliminary Hearing from September 9, 2021 to

October 18, 2021; it is

        FURTHER ORDERED that the period from September 9, 2021 to October 18, 2021 be

excluded from computing the time within which an information or indictment must be filed under

the Speedy Trial Act because the ends of justice served by such a continuance outweigh the best

interests of the public and Defendant in a speedy trial. See 18 U.S.C. ' 3161(h)(7). The Court finds

that COVID-19 has presented complications here that make it difficult for defense to meet with his

client and prepare, and that delay is necessary for the parties to work on a potential resolution.

                                                It Is So Ordered.

                                                ______________________________________
                                                Zia Faruqui
                                                United States Magistrate Judge

Entered: ___________________________




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                             CERTIFICATE OF SERVICE

       I hereby certify that a copy of the Consent Motion to Continue Preliminary Hearing was
served upon counsel of record through electronic mail, this 18th day of October, 2021.



                             By:     /s/ April N. Russo
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